                        Case 1:10-cr-10440-DPW Document 624 Filed 03/13/13 Page 1 of 10

AO 2458       (Rev. 09/11) Judgment in a Criminal Case
              Sheet I



                                          UNITED STATES DISTRICT COURT
                                                             District of Massachusetts
                                                                             )
              UNITED STATES OF AMERICA                                       )          JUDGMENT IN A CRIMINAL CASE
                                  v.                                         )
                          RYAN MORRIS                                        )
                                                                                        Case Number: 10-CR-10440-DPW-010
                                                                             )
                                                                             )          USM Number: 93675-038
                                                                             )
                                                                             )          Gordon W. Spencer
                                                                                        Defendant's Attorney
THE DEFENDANT:
!itpleaded guilty to count(s)          1 and 15 of the Indictment on "10/4/12

D pleaded nolo contendere to count(s)
   which was accepted by the court.
o was found guilty on count(s)
   after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

                                                                                                                Offense Ended

                                         ;·"P.i~cYto6i$iH.buteCocaine and Cocaine Base.                             12/2/2010

 21 U.S.C. § 841(b)(1)(A)

                  ,,\~\~~~.~::;!:Lt~~~,~~e~$iOnOf Cocaine Base wlth.lntent to Distribute.                           12/2/2010                                  15

       The defendant is sentenced as provided in pages 2 through             _ .. ~ __~ ofthis judgrucnt. The sentence is imposed pursuant to
the Sentencing Reform Act 0 f 1984.

o The defendant has been found not guilty on count(s)
D Count(s)                                               [J is    D are dismissed on the motion ofthe United States.
         It is ordered that the defendant must notify the United States attorney for this district within 30 days ot anv change of name. residence.
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. lfordered to pay restitution.
the defendant must notify the court and United States attorney of material changes in economic circumstances.

                                                                         -
                                                                              3/12/2013
                                                                                  ---~--------~--_._-_.-       --   .._--------- - -_. __. _ - - - - - -   -   ----- -- - - - - - - ­




                                                                         ~,::'~~~ZlM
                                                                           o"/;!,f!
                                                                                    L.. . .... .
                                                                                 Ignature




                                                                              Douglas P. Woodlock
                                                                             Name and Title of Judge



                                                                             D"tPJ'll...!!L //)/5
                       Case 1:10-cr-10440-DPW Document 624 Filed 03/13/13 Page 2 of 10
AO 2458     (Rev.09/11)Judgmentin Criminal Case
            Sheet2 - Imprisonment
                                                                                                    Judgment- Page         2   of   6
DEFENDANT: RYAN MORRIS
CASE NUMBER: 10-CR-10440-DPW-010


                                                          IMPRISONMENT

         The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total term of:
    120 months on each count to be served concurrently.

    Defendant shall receive credit for time served.


      ill' The court makes the following recommendations to the Bureau of Prisons:
 The defendant should participate in educational and/or vocational training programs. The defendant should participate in all
 available substance abuse treatment programs. The defendant should participate in mental health treatment programs.


      ill' The defendant is remanded to the custody of the United States Marshal.
      o The defendant shall surrender to the United States Marshal for this district:
        o at                                  0 a.m.        o p.m. on
        o as notified by the United States Marshal.
      o The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
        o before 2 p.m. on
        o as notified by the United States Marshal.
        o as notified by the Probation or Pretrial Services Office.

                                                                RETURN
I have executed this judgment as follows:




          Defendant delivered on                                                       to

a                                                 , with a certified copy of this judgment.
    ----------------




                                                                                                 UNITED STATES MARSHAl



                                                                        By                                .._..__ .._._.
                                                                                              DEPUTY UNITED STATES MARSHAL
                       Case 1:10-cr-10440-DPW Document 624 Filed 03/13/13 Page 3 of 10

AD 2458       (Rev. 09/11) Judgment in a Criminal Case
              Sheet 3 - Supervised Release
                                                                                                           Judgment-Page      3       or       6
DEFENDANT: RYAN MORRIS
CASE NUMBER: 1O-CR-1 0440-DPW-010
                                                          SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of:
 5 years on each count to be served concurrently.

        The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the
custody of the Bureau of Prisons.
The defendant shall not commit another federal, state or local crime.
The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlaw Iul usc of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic d rug tests
thereafter,~mHIxX~hMJOJt. not to exceed 104 tests per year I as directed.                                                        ­
o The above drug testing condition is suspended, based on the court's determ ination that the defendant poses a low risk of
         future substance abuse. (Check, ifapplicable.)

         The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check. ifapphcable.)

         The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Checkif apphcable.)


D                                                                                                                                 *
         The defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (42 USc. 16901, et seq.)
         as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she resides.
         works, is a student, or was convicted ofa qualifying offense. (Check. ifapphcable.)

D        The defendant shall participate in an approved program for domestic violence. (Check, ifapplicable.)
        If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the
Schedule of Payments sheet of this judgment.
         The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
on the attached page.

                                           STANDARD CONDITIONS OF SUPERVISION
    1)    the defendant shall not leave the judicial district without the permission of the court or probation officer;
    2)    the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer:
    3)    the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer:
  4)      the defendant shall support his or her dependents and meet other fam ily responsibilities:
    5)    the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training. or other
          acceptable reasons;
    6)    the defendant shall notify the probation officer at least ten days prior to any change in residence or employment:
    7)    the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
          controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician:
    8)    the defendant shall not frequent places where controlled substances are illegally sold, used, distributed. or administered:
    9)    the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a
          felony, unless granted permission to do so by the probation officer;
 10)      the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
          contraband observed in plain view of the probation officer;
 11)      the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer:
 12)      the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
          permission of the court; and

 13)      as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal
          record or p-ersonal history or characteristics and shall permit the probation officer to make such notifications and to confirm the
          defendant s compliance with such notification requirement.
                 Case 1:10-cr-10440-DPW Document 624 Filed 03/13/13 Page 4 of 10


AO 2458   (Rev. 09111)Judgment in a Criminal Case
          Sheet 3A - Supervised Release
                                                                   Judgment-Page   4   of   6
DEFENDANT: RYAN MORRIS
CASE NUMBER: 10-CR-10440-DPW-010

                                   ADDITIONAL SUPERVISED RELEASE TERMS
 DEFENDANT IS TO PARTICIPATE IN A PROGRAM FOR SUBSTANCE ABUSE AS DIRECTED BY THE US
 PROBATION OFFICE, WHICH PROGRAM MAY INCLUDE TESTING, NOT TO EXCEED 104 DRUG TESTS PER YEAR,
 TO DETERMINE WHETHER THE DEFENDANT HAS REVERTED TO THE USE OF ALCOHOL OR DRUGS. THE
 DEFENDANT SHALL BE REQUIRED TO CONTRIBUTE TO THE COSTS OF SERVICES FOR SUCH TREATMENT
 BASED ON THE ABILITY TO PAY OR AVAILABILITY OF THIRD PARTY PAYMENT.

 DEFENDANT IS TO PARTICIPATE IN A MENTAL HEALTH TREATMENT PROGRAM AS DIRECTED BY THE US
 PROBATION OFFICE. THE DEFENDANT SHALL BE REQUIRED TO CONTRIBUTE TO THE COSTS OF SERVICES
 FOR SUCH TREATMENT BASED ON THE ABILITY TO PAY OR AVAILABILITY OF THIRD PARTY PAYMENT.
                   Case 1:10-cr-10440-DPW Document 624 Filed 03/13/13 Page 5 of 10
AO 245B   (Rev. 09/11) Judgment in a Criminal Case
          Sheet 5 - Criminal Monetary Penalties
                                                                                                  Judgment -    Page      5     of        6
DEFENDANT: RYAN MORRIS
CASE NUMBER: 10-CR-10440-DPW-010
                                              CRIMINAL MONETARY PENALTIES
     The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.


                    Assessment                                                                              Restitution
TOTALS            $ 200.00                                       $                                      $



o The determination of restitution is deferred until                 . An   Amended Judgment in a Criminal Case (A02.f5CI will be entered
     after such determination.

o The defendant must make restitution (including community restitution) to the following payees in the amount listed below.
     If the defendant makes a partial payment, each payee shall receive an approximately proportioned p'a.yment, unless specified otherwise in
     the priority order or percentage payment column below. However, pursuant to 18 U.s.c. § 3664( i). all non federal victims must be paid
     before the United States is paid.

                                                                       Total Loss*         Restitution Ordered         Priority or Percentage




TOTALS                              $                     0.00              $                    0.00


o    Restitution amount ordered pursuant to plea agreement $

o    The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or tine is paid in full before the
     fifteenth day after the date of the judgment, pursuant to 18 U.S.c. § 3612(f). All of the payment options on Sheet 6 may be subject
     to penalties for delinquency and default, pursuant to 18 U.S.c. § 3612(g).

o    The court determined that the defendant does not have the ability to pay interest and it is ordered that:

     o the interest requirement is waived for the 0 fine 0 restitution.
     o the interest requirement for the 0 fine 0 restitution is modified as follows:

• Findings for the total amount of losses are required under Chapters I09A, 110, II OA, and 113A ofTitle 18 for offenses comm itted on or after
September 13, 1994, but before April 23, 1996.
                     Case 1:10-cr-10440-DPW Document 624 Filed 03/13/13 Page 6 of 10
AO 245B    (Rev. 09111) Judgment in a Criminal Case
           Sheet 6 - Schedule of Payments

                                                                                                           .Judgment-   Page     {L__ of           Q.
DEFENDANT: RYAN MORRIS
CASE NUMBER: 10-CR-10440-DPW-010

                                                       SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows:

A    ri/ Lump sum payment of$              200.00            due immediately, balance due

                 not later than                                   . or
                 in accordance           D C,         D D,   D      E, or    r;t F below; or
B    D    Payment to begin immediately (may be combined with                DC,       D D, or       D F below); or
C    D    Payment in equal                       (e.g., weekly, monthly, quarterly) installments of $          _~__~~__ over a period of
                       (e.g., months or years), to commence                        (e.g., 30 or 60 days) after the date of this judgment: or

D    D    Payment in equal                        (e.g., weekly, monthly, quarterly) installments of $                          over a period of
                        (e.g., months or years), to commence                        (e.g.. 30 or 60 davs} after release from imprisonment to a
          term of supervision; or

E    0    Payment during the term of supervised release will commence within                  (e.g., 30 or 60 days) after release from
          imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

F    ri/ Special instructions regarding the payment of criminal monetary penalties:
           DEFENDANT SHALL PAY THE SPECIAL ASSESSMENT OF $200.00, IMMEDIATELY OR ACCORDING TO A
           PAYMENT PLAN ESTABLISHED BY THE COURT IN CONSULTATION WITH THE PROBATION OFFICER, IF
           NOT PAID IN FULL BEFORE RELEASE FROM PRISON THROUGH A BUREAU OF PRISONS FINANCIAL
           RESPONSIBILITY PROGRAM.


Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment ofcrim inal monetary penalties is due during
imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons' Inmate Financial
Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




D    Joint and Several

     Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount.
     and corresponding payee, if appropriate.




o    The defendant shall pay the cost of prosecution.

o    The defendant shall pay the following court cost(s):

D    The defendant shall forfeit the defendant's interest in the following property to the United States;




Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
                     Case 1:10-cr-10440-DPW Document 624 Filed 03/13/13 Page 7 of 10
AO 245B   (Rev. 09/11) Judgment in a Criminal Case
          Attachment (Page I) - Statement of Reasons


DEFENDANT: RYAN MORRIS
CASE NUMBER: 10-CR-10440-DPW-010
DISTRICT:    District of Massachusetts
                                                          STATEMENT OF REASONS

I     COURT FINDINGS ON PRESENTENCE INVESTIGA nON REPORT

      A i1'      The court adopts the presentence investigation report without change.

      B   0      The court adopts the presenten ce investigation report with the fol1owing changes.
                 (Check all that apply and specify court determination, findings, or comments, referencing paragraph numbers in the presentence report. If applicable I
                 (Use page 4 if necessary.)

                 o Chapter Two ofthe U.S.S.G. Manual determinations by court (including changes to base offense level, or
                      specific offense characteristics)



          2      0    Chapter Three of the U.S.S.G. Manual determinations by court (including changes to victim-related adjustments.
                      role in the offense, obstruction ofjustice, multiple counts, or acceptance of responsibility)



          3      0    Chapter Four of the U.S.S,G. Manual determinations by court (including changes to criminal history categorv or
                      scores, career offender, or criminal livelihood determinanons):



          4      0    Additional Comments or Findings (including comments or factual findings concerning certain information in the
                      presentence report that the Federal Bureau of Prisons may rely on when it makes inmate classification, designation.
                      or programming deCISIOns):




      C 0        The record establishes no need for a presentence investigation report pursuant to Fed.R.Crim.P. 32.

II    COURT FINDING ON MANDATORY MINIMUM SENTENCE (Check all that apply.)

      A 0        No count of conviction carries a mandatory minimum sentence


      B i1'      Mandatory minimum sentence imposed.


      C 0        One or more counts of conviction alleged in the indictment carry a mandatory minimum term of imprisonment but the
                 sentence imposed is below a mandatory minimum term because the court has determined that the rnandatorv mmrmum
                 does not apply based on

                 o findings offact in this case
                 o substantial assistance (18 U.S.c. § 3553(e))
                 o the statutory safety valve (18 USc. § 3553(1))

III   COURT DETERMINAnON OF ADVISORY GUIDELINE RANGE (BEFORE DEPARTURES):

      Total Offense Level:   29
                            -="'---------------­
      Criminal History Category:
      Imprisonment Range: _1,-=2=-=0~_ to 120     months
      Supervised Release Range: --=5_--:-__ to _5        years
      Fine Range: $ 15,000         to $ ~OO,OOO

      r;t Fine waived or below the guideline range because of inability to pay,
                         Case 1:10-cr-10440-DPW Document 624 Filed 03/13/13 Page 8 of 10
AO 245B       (Rev. 09/11) Judgment in a Criminal Case
              Attachment (Page 2) - Statement of Reasons


DEFENDANT: RYAN MORRIS
CASE NUMBER: 10-CR-10440-DPW-010
DISTRICT:    District of Massachusetts
                                                              STATEMENT OF REASONS

IV    ADVISORY GUIDELINE SENTENCING DETERMINAnON (Check only one.)

      A      ilf        The sentence is within an advisory guideline range that is not greater than 24 months, and the court finds no reason to depart

      B       0         The sentence is within an advisory guideline range that is greater than 24 months, and the specific sentence is imposed for these reasons.
                        (Use page 4 if necessary.)



      c 0               The court departs from the advisory guideline range for reasons authorized hy the sentencing guidelines manual.
                        (Also complete Section V)

      D 0               The court imposed a sentence outside the advisory sentencing guideline system. (Also complete Section VI)


V     DEPARTURES AUTHORIZED BY THE ADVISORY SENTENCING GUIDELINES (Ifapplicable.)
      A      The sentence imposed departs (Check only one):
              o below the advisory guideline range
              o above the advisory guideline range
      B       Departure based on (Check all that apply):
                             Plea Agreement (Check all that apply and check reason(s) below.):
                             o      5K1.1 plea agreement based on the defendant's substantial assistance
                             o      5K3.1 plea agreement based on Early Disposition or "Fast-track" Program
                             o      binding plea agreement for departure accepted by the court
                             o      plea agreement for departure, which the court finds to be reasonable
                             o      plea agreement that states that the government will not oppose a defense departure motion.

             2               Motion Not Addressed in a Plea Agreement (Check all that apply and check reasonts) below.);
                             o      5K 1.1 government motion based on the defendant's substantial assistance
                             o      5K3.l government motion based on Early Disposition or "Fast-track" program
                             o      government motion for departure
                             o      defense motion for departure to which the government did not object
                             o      defense motion for departure to which the government objected

             3               Other
                             o      Other than a plea agreement or motion by the parties for departure (Check reasonts) below.):

      C          Reason(s) for Departure (Check all that applv other than 5K 1./ or 5K3. l)

0    4A1.3        Criminal History Inadequacy                0     5K2.1    Death                                   0     5K2.11    Lesser Harm

0    5Hl.l        Age                                        0     5K2.2    Physical Injury                         0     5K2.12    Coercion and Duress

0    5Hl.2        Education and Vocational Skills            0     5K2.3    Extreme Psychological Injury            0     5K2.13    Diminished Capacity

0    5HU          Mental and Emotional Condition             0     5K2.4    Abduction or Unlawful Restraint         0     5K2.14    Pubhc Welfare

0    5H1.4        Physical Condition                         0     5K2.5    Property Damage or Loss                 D     5K2 16    Voluntary Disclosure of Offense

0    5Hl.5        Employment Record                          0     5K2.6    Weapon or Dangerous Weapon              D     5K2 17 High-Capacuy. Serruautomauc Weapon

                                                             0     5K2.7    Disruption of Government Function       D     5K2.18    Violent Street Gang
0    5H1.6        Family Ties and Responsibilities
                                                             D     5K2.8    Extreme Conduct                         D     'iKe cO   Aherrant Behav lor
0    5HI.II       Military Record, Charitable Service,
                  Good Works                                 D     5K2.9    Criminal Purpose                        D     5K2.21    Dismissed and Uncharged Conduct

0    5K2.0        Aggravating or Mitigating Circumstances    0     5K2.1O Victim's Conduct                          D     5K2.22    Age or Health of Sex OITenders
                                                                                                                    0     5K2.23    Discharged Terms of Impnsonment

                                                                                                                    0     Other guidel me basis (e.R . eB 1 1 cornrnemarv )


      D          Explain the facts justifying the departure. (Use page 4 if necessary.}
                  Case 1:10-cr-10440-DPW Document 624 Filed 03/13/13 Page 9 of 10
AO 245B    (Rev. 0911 I) Judgment in a Criminal Case
           Attachment (Page 3) - statement of Reasons


DEFENDANT: RYAN MORRIS
CASE NUMBER: 10-CR-10440-DPW-010
DISTRICT:    District of Massachusetts
                                                          STATEMENT OF REASONS

VI   COURT DETERMINATION FOR SENTENCE OUTSIDE THE ADVISORY GUIDELINE SYSTEM
     (Check all that apply.)

     A     The sentence imposed is (Check only one.):
           D below the advisory guideline range
           D above the advisory guideline range
     B     Sentence imposed pursuant to (Check all that apply.):
                       Plea Agreement (Check all that apply and check reasonts) below.):
                       o       binding plea agreement for a sentence outside the advisory guideline system accepted by the court
                       o       plea agreement for a sentence outside the advisory guideline system, which the court finds to be reasonable
                       D       plea agreement that states that the government will not oppose a defense motion to the court to sentence outside the advisory guidel me
                               system

           2           Motion Not Addressed in a Plea Agreement (Check all that apply and check reasonts) below t:
                       D       government motion for a sentence outside of the advisory guideline system
                       o       defense motion for a sentence outside of the advisory guideline system to which the government did not object
                       o       defense motion for a sentence outside of the advisory guideline system to which the government objected

           3           Other
                       o       Other than a plea agreement or motion by the parties for a sentence outside of the advisory guidehne system (Check reason/s) below.)

     C     Reason(s) for Sentence 0 utside the Advisory Guideline System (Check all thai apply)

           o the nature and circumstances of the offense and the history and characteristics of the defendant pursuant to 18 USC Ii 3553(a)( I)
           o to reflect the seriousness of the offense. to promote respect for the law, and to provide Just punishment for the offense (18 U.SC Ii 3553(a)(2)(A»
           o to afford adequate deterrence to criminal conduct (18 U.SC § 3553(aX2XBl)
           o to protect the public from further crimes of the defendant (18 U.Sc. Ii 3553(a)(2)(C»
           o to provide the defendant with needed educational or vocational training, medical care, or other correctional treatment In the most etfecuv e manncr
               (18 U.Sc. § 3553(a)(2XD))

           o to avoid unwarranted sentencing disparities among defendants (J 8 US.c. § 3553(a)(6))
           o to provide restitution to any victims of the offense (J 8 USc. § 3553(a)(7))
     D     Explain the facts justifying a sentence outside the advisory guideline system. (Use page 4 ifnecessary.)
                   Case 1:10-cr-10440-DPW Document 624 Filed 03/13/13 Page 10 of 10
A0245B      (Rev. 09111) Judgment in a Criminal Case
            Attachment (Page 4) - Statement of Reasons


DEFENDANT: RYAN MORRIS
CASE NUMBER: 10-CR-10440-DPW-010
DISTRICT:    District of Massachusetts
                                                         STATEMENT OF REASONS

VII COURT DETERMINATIONS OF RESTITUTION

      A     'l1'   Restitution Not Applicable.

      B     Total Amount of Restitut ion:

      C     Restitution not ordered (Check only one.):

                   D   For offenses for which restitution is otherwise mandatory under 18 US.c. !l 3663A, restitution IS not ordered because the number of
                       identifiable victims is so large as to make restitution impracticable under 18 USc. !l3663A(c)(3)(A)

            2      D   For offenses for which restitution is otherwise mandatory under 18 U.Sc. !l3663A, restitution is not ordered because determining complex
                       issues offact and relating them to the cause or amount of the victims' losses would complicate or prolong the sentencing process to a degree
                       that the need to provide restitution to any victim would be outweighed by the burden on the sentencing process under 18 {I S C ~ 3M3A(c)(3)(B)

            3      D   For other offenses for which restitution is authorized under 18 U.s.c. !l3663 and/or required by the sentencing guidelines restitution IS not
                       ordered because the complication and prolongation of the sentencing process resulting from the fashioning of a restitution order outweigh
                       the need to provide restitution to any victims under 18 US.c. !l3663(a)( I)(8)(ii)

            4      D   Restitution is not ordered for other reasons. (Explain}




     D      D      Partial restitution is ordered for these reasons (18 u.s.c. § 3553(c)):




VIII ADDITIONAL FACTS JUSTIFYING THE SENTENCE IN THIS CASE (Ifapplicable.)




                    Sections I, II, III, IV, and VII of the Statement of Reasons form must be completed in all felony cases.




Defendant's Soc. Sec. No.:        XXX-XX-3784                                                       }llmpO';!;O of ud ment
                                      1973                                                            3/1 2012                             ~-,t-----~-----
                                                                                                                                            _~I
Defendant's Date of Birth:
                                                                                                            'litH
                                                                                                     Signature of Judge
                                                                                                                                                          n      _




Defendant's Residence Address:
 Brockton, MA                                                                                         0009105 P. W $                           U.SD.J.
Defendant's Mailing Address:                                                                         Name ~l1d Title 0             e J     IJ lOIS
 Unknown.                                                                                            Date Signed                   C/;. __J                             _
